                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville, State of
Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM;
NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent
and next friend of MADELINE PARTAIN; LETA
CAPLINGER; ADAM WEBB; ARKANSAS LIBRARY
ASSOCIATION; ADVOCATES FOR ALL
ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH
COMMUNITY BOOKSTORE LLC d/b/a
WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION
OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; and FREEDOM TO READ FOUNDATION                                                       Plaintiffs

                                  Case No. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS;
CHRIS KEITH, in his official capacity as Crawford County Judge;
TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
DEBRA BUSCHMAN; TONY ROGERS; JOSHUA
ROBINSON; CAROL CREWS; KEVIN HOLMES;
CHRIS WALTON; and
CHUCK GRAHAM, each in his or her official capacity as
a prosecuting attorney for the State of Arkansas.                                       Defendants

        PLAINTIFF LETA CAPLINGER’S OBJECTIONS AND RESPONSES TO DEFENDANTS
             PROSECUTING ATTORNEYS’ FIRST SET OF INTERROGATORIES AND
                     REQUESTS FOR PRODUCTION TO HAYDEN KIRBY

       Plaintiff Leta Caplinger provides the following objections and responses to Defendants

Prosecuting Attorneys’ First Set of Interrogatories and Requests for Production, in accordance with

Federal Rules of Civil Procedure 33 and 34.
                                           Interrogatories

        INTERROGATORY NO. 1:               Identify five items you wish to read, browse, or view that

you believe are subject to regulation under Section 1 of Act 372 of 2023.

        ANSWER: Plaintiff Caplinger objects to this interrogatory because it requires her to draw

legal conclusions about Section 1 and Act 372 which she is unqualified to make and, additionally,

which section of Act 372 she asserts is unconstitutionally vague.

        INTERROGATORY NO. 2: For each item identified in response to Interrogatory No.

1, identify the chapter numbers, timestamps, or other specific indicator that you believe make the

item subject to Section 1.

        ANSWER: See objection to Interrogatory No. 1.

        INTERROGATORY NO. 3:                For the years 2019 to the present, identify every place

from which you have loaned, rented, purchased, or browsed for books, including brick-and-mortar

stores, online retailers, and libraries.

        ANSWER: Chapters on Main, Booklist, Books A Million, Barnes and Noble, Once Upon

A Book, various antique shops and flea markets. Crawford County Library System: Main branch,

Cedarville branch, Alma branch, Mulberry branch. Fort Smith public library: Main branch,

Windsor branch, Dallas Branch and Greenwood branch. I have also browsed for books at

bookstores, antique shops, quilting and embroidery shops while on vacation, whose names I do

not recall, and at the Springfield, Gilcrease and Chihuly museum exhibits. I have browsed for

books online from the following websites: Amazon, Abe Books, Once Upon a Book, Books and

Things, Hamilton Books, Facebook, Hal Leonard and Lexis.

                                      Requests for Production

        REQUEST FOR PRODUCTION NO. 1: Produce copies of the portions of items

                                                  2
 identified in response to Interrogatory No. 2 that you believe make the item subject to regulation

 under Section 1 of Act 372 of 2023.

        RESPONSE: See objection to Interrogatory No. 1.

        REQUEST FOR PRODUCTION NO. 2: Produce all documents you relied on in

answering this First Set of Interrogatories and Requests for Production.

        RESPONSE: See objection to Interrogatory No. 1. Without waiving this objection, the

 response is “None”.

               Submitted this 18th day of March, 2024

                                               /s/Bettina E. Brownstein
                                               Ark. Bar No. 85019
                                               904 W. 2nd Street, Suite 2
                                               Little Rock, AR 72201
                                               Tel: (501) 920-1764
                                               E-mail: bettinabrownstein@gmail.com

                                               Attorney for Plaintiffs Hayden Kirby,
                                               Leta Caplinger, and Mel Partain in her
                                               own Capacity and as Mother and Next
                                               Friend of Madeline Partain.

                                               On Behalf of the Arkansas Civil
                                               Liberties Foundation

                                    VERIFICATION
               I, Leta Caplinger, declare under penalty of perjury under the laws of the United
        States of America that the foregoing responses are true and correct.

               Executed on March 18, 2024 at Van Buren, Arkansas.

                                                      /s/Leta Caplinger
                                                        Leta Caplinger

                                      CERTIFICATE OF SERVICE
        I, hereby certify that on this 18th day of March, 2024, I served the foregoing on all defense
counsel of record, including counsel for the propounding parties, Noah P. Watson, via e-mail.


                                                             /s/Bettina E. Brownstein
                                                               Bettina E. Brownstein

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